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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA            )
                                    ) Case No. 17-mj- 131-01-AJ
      v.                            )
                                    )
JUAN DIMEL GIL CASTILLO             )
___________________________________ )

                                      MOTION TO SEAL

               NOW COMES John J. Farley, Acting United States Attorney for the District of

New Hampshire, and hereby moves that the Complaint, supporting Affidavit, and Arrest Warrant

in the above-captioned case be sealed at Level I until the defendant is taken into custody by the

DEA. In support thereof, the government submits that disclosure of this charging document

could prompt the target to flee and/or conceal his unlawful conduct by tampering with evidence.

                                             Respectfully submitted,

                                             JOHN J. FARLEY
                                             Acting United States Attorney

                                      By:    /s/ Georgiana L. Konesky
                                             Georgiana L. Konesky
                                             Assistant U.S. Attorney
                                             53 Pleasant Street
                                             Concord, NH 03301
                                             (603) 230-1552
October 13, 2017                             Georgiana.konesky@usdoj.gov

Motion: ____
         X Granted _____ Denied              ___________________________
                                             Andrea K. Johnstone
                                             United States Magistrate Judge
